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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  MATTHIAS KRULL,

        Defendant.
  _______________________________/

                                    ORDER OF FORFEITURE

         THIS CAUSE is before the Court upon motion of the United States of America (the

  “United States”) for entry of an Order of Forfeiture for a money judgment in the amount of

  $600,000 in U.S. currency, pursuant to 18 U.S.C. § 982(a)(1), and the procedures set forth in 21

  U.S.C. § 853 and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure. Being fully

  advised and based on the United States’ Unopposed Motion for Order of Forfeiture, and

  Memorandum of Law in Support Thereof, the record in this matter, and for good cause shown

  thereby, the Court finds as follows:

         1.      On August 16, 2018, Defendant Matthias Krull (the “Defendant”) was charged by

  Information with one count of conspiracy to commit money laundering, in violation of 18 U.S.C.

  §§ 1956(h) and 1957. (See Information, [ECF No. 23]). The Information included forfeiture

  allegations, which alleged that upon conviction of a violation of 18 U.S.C. § 1956(h), the

  Defendant shall forfeit to the United States all property, real or personal, involved in such

  offense, or any property traceable to such property, pursuant to 18 U.S.C. § 982(a)(1). Id. at 2.

         2.      On August 22, 2018, pursuant to a written Plea Agreement, the Defendant

  pleaded guilty to conspiracy to commit money laundering in violation of 18 U.S.C. §§ 1956(h)
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  and 1957 as charged in the Information. (See Minute Entry, [ECF No. 28]); Plea Agreement ¶ 2,

  [ECF No. 29]. In his Plea Agreement, the Defendant agreed to following provisions, among

  others:

            15.     The Defendant agrees to forfeit to the United States voluntarily and
            immediately all property, real or personal, involved in the violation of Title 18,
            United States Code, Section 1956(h) charged in the Information, and/or property
            that constitutes substitute assets, pursuant to Title 18, United States Code, Section
            982(a)(1) and Title 21, United States Code, Section 853(p). The Defendant
            admits and agrees that the conduct described in the criminal complaint,
            Information, and factual proffer provides a sufficient factual and statutory basis
            for the forfeiture of the property sought by the United States.

            16.     The Defendant also agrees to assist this Office in all proceedings, whether
            administrative or judicial, involving the forfeiture to the United States of all
            assets, including real and personal property, cash, and other monetary
            instruments, wherever located, which the Defendant, or others to the Defendant’s
            knowledge, have accumulated as a result of illegal activities, or are forfeitable as
            substitute assets in the place of assets accumulated as a result of illegal activities.
            The Defendant further agrees that all elements of Title 21, United States Code,
            Section 853(p) have been satisfied. The Defendant further agrees to take all steps
            necessary to locate property that could be used to satisfy the forfeiture money
            judgment and to pass title to the United States before the Defendant’s sentencing.
            To that end, Defendant agrees to fully assist the Office in the recovery and return
            to the United States of any assets, or portions thereof, wherever located. The
            assistance shall include: identification of any property subject to forfeiture,
            agreement to the entry of an order enjoining the transfer or encumbrance of such
            property, and the transfer of such property to the United States by delivery to this
            Office, upon this Office’s request, any necessary and appropriate documentation,
            including consents to forfeiture and quit claim deeds, to deliver good and
            marketable title to such property. The Defendant further agrees to liquidate
            assets, or complete any other tasks which will result in immediate payment of the
            forfeiture money judgment in full, or full payment in the shortest amount of time,
            as requested by the Office.

            17.      The Defendant agrees to make full and accurate disclosure of his financial
            affairs to the United States and expressly authorizes the United States to obtain a
            credit report. The Defendant agrees that within 10 calendar days and upon
            request of the Office, the Defendant shall submit a completed Financial
            Disclosure Statement (form provided by the United States), and shall fully
            disclose and identify all assets in which he has any interest and/or over which the
            Defendant exercises control, directly or indirectly, including those held by a
            spouse, nominee, or other third party. The Defendant agrees that providing false
            or incomplete information about his financial assets, or hiding, selling,

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         transferring or devaluing assets and/or failing to cooperate fully in the
         investigation and identification of assets may be used as a basis for: (i) separate
         prosecution, including, under Title 18, United States Code, Section 1001; or (ii)
         recommendation of a denial of a reduction for acceptance of responsibility
         pursuant to Section 3E1.1 of the Sentencing Guidelines. The Defendant agrees
         that he will not sell, hide, waste, encumber, destroy, or otherwise devalue any
         asset without prior approval of the United States, until his forfeiture money
         judgment is paid in full. The Defendant shall also identify any transfer of assets
         valued in excess of $5,000 since the date when he became aware of the criminal
         investigation, including the identity of the asset, the value of the asset, the identity
         of the third party to whom the asset was transferred, and the current location of
         the asset.

         18.      The Defendant further understands that forfeiture is independent of any
         assessments, fines, costs, restitution, or any other penalty that may be imposed by
         the Court. The Defendant further knowingly and voluntarily: (1) waives all
         constitutional, legal and equitable defenses to the forfeiture of the assets in any
         judicial or administrative proceeding, (2) waives any applicable time limits for the
         initiation of administrative or judicial forfeiture proceedings, (3) waives any claim
         or defense under the Eighth Amendment to the United States Constitution,
         including any claim of excessive fine or penalty, and (4) waives any right to
         appeal the forfeiture.

  Plea Agreement ¶¶ 15-18.

         3.      In support of his guilty plea, the Defendant stipulated that his role in the charged

  conspiracy was as a banker and money laundering facilitator for Conspirator 7 and others. (See

  Factual Proffer ¶ 21, [ECF No. 30]).         Conspirator 7 contacted the Defendant regarding

  laundering approximately $600 million.        See id. ¶ 25.     Conspirator 7 then introduced the

  Defendant to Conspirator 10 and Mario Enrique Bonilla Vallera (“Bonilla”), who represented the

  stepsons of Venezuelan Official 2. See id. ¶¶ 26-32. Bonilla is a Defendant in a related criminal

  case, United States v. Convit Guruceaga et al., Case No. 18-20687-CR-KMW.

         4.      On October 25, 2018, the Defendant executed a Consent to Forfeiture. See U.S.’s

  Motion for Order of Forfeiture, Attachment A ¶ 6. As part of the charged conspiracy, the

  Defendant referred Bonilla to Conspirator 12 to assist in the laundering of the funds. See id. ¶ 4.

  In exchange for the referral, Conspirator 12 shared half of a 2-percent fee with the Defendant,

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  which was 1 percent of $60 million, or approximately $600,000. See id.               The Defendant

  consented and agreed that this $600,000 has since been transferred or sold to, or deposited with,

  a third party; has been placed beyond the jurisdiction of the Court; has been substantially

  diminished in value; and/or has been commingled with other property which cannot be divided

  with difficulty. See id. ¶ 5.

          5.      The Defendant has consented and agreed to a forfeiture money judgment in the

  amount of $600,000, which is equal to the total value of the property, real or personal, that he

  obtained as a result of his participation in the money laundering conspiracy charged in the

  Information. See id. ¶ 6.

          6.      He has also agreed to satisfy his forfeiture money judgment within 30 days of

  sentencing, or forfeit, as a substitute asset, real property located at 1300 Brickell Bay Drive, Unit

  3903, Miami, Florida, if a balance remains after that period expires. See id. ¶¶ 7-8.

          7.      Based on the Defendant’s guilty plea, the Plea Agreement, Factual Proffer, and

  Consent to Forfeiture, the Defendant obtained $600,000 as a result of his participation in the

  money laundering conspiracy, and such property was therefore, “involved in” the offense

  charged in the Information. Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure,

  this sum may be sought as a forfeiture money judgment.

          THEREFORE, the United States’ Unopposed Motion for Order of Forfeiture and

  Memorandum of Law [ECF No. 49] is hereby GRANTED, and it is hereby ORDERED that:

          1.      A forfeiture money judgment in the amount of $600,000 in U.S. currency is

  hereby entered against Defendant Matthias Krull;

          2.      Pursuant to Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure, no

  ancillary proceeding is required as the requested forfeiture consists of only a money judgment;



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           3.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

  Order is final as to Defendant Matthias Krull, and shall be made part of his sentence and

  referenced in the judgment and commitment order issued in this case;

           4.     The United States is authorized, pursuant to Rule 32.2(b)(3) of the Federal Rules

  of Criminal Procedure and 21 U.S.C. § 853(m), to conduct any discovery necessary, including

  depositions, to identify, locate or dispose of forfeitable property; and

           5.     The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order.

           DONE AND ORDERED in Miami, Florida, this 26th day of October, 2018.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE

  cc:      counsel of record




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